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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                             CASE NO. 19-CR-268 (TSC)

                   v.                                 UNDER SEAL

FABIAN EDILSON TORRES CARANTON,
also known as “Cassius,” and “David,”

                         Defendant.


                        JOINT MOTION FOR CONTINUANCE AND
                                  STATUS REPORT

       The United States of America (“Government”) and Defendant, Fabian Edilson Torres

Caranton, represented by the undersigned counsel, request that the Court continue the status

hearing scheduled in the above caption proceeding, currently scheduled for March 7, 2025, to April

2 or April 3, 2025, or as soon thereafter as the Court is available. The parties further respectfully

request that the Court issue an Order excluding time pursuant to the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7)(A).

       1.      On August 7, 2019, a federal grand jury sitting in the District of Columbia returned

an Indictment charging the Defendant with conspiracy to distribute five kilograms or more of

cocaine, intending, knowing, and having reasonable cause to believe that the cocaine would be

unlawfully imported into the United States, in violation of 21 U.S.C. §§ 959(a), 960(b)(1)(B)(ii),

and 963. 1

        2.     In August 2019, the Colombian government issued a provisional arrest warrant

(“PAW”), and the Government submitted a formal extradition request to Colombian authorities on

July 8, 2022. Colombian authorities arrested the Defendant on May 17, 2022. The Defendant was

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 A Superseding Indictment was returned on November 25, 2020. The charges against the
Defendant were not amended.

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in continuous custody in Colombia following his arrest, and he was formally extradited to the

United States on December 29, 2023.

        3.     On January 2, 2024, the Defendant appeared in this District and was arraigned on

the Indictment. The Defendant was ordered detained, an initial status hearing was scheduled for

January 8, 2024, and time was excluded under the Speedy Trial Act.

        4.     At the status hearing on January 8, 2024, the Court ordered the parties to file a Joint

Status Report by March 11, 2024, scheduled a status hearing for March 25, 2024, and time was

excluded under the Speedy Trial Act.

        5.     On February 22, 2024, the Court informed the parties via electronic mail that it was

necessary to reschedule the March 25, 2024, status hearing. The status hearing was rescheduled

to May 20, 2024. Pursuant to the Court’s Minute Order, time was excluded under the Speedy Trial

Act.

        6.     The parties submitted Joint Status Reports on March 11, 2024, May 9, 2024, and

November 4, 2024, informing the Court about the progress of discovery and the ongoing efforts to

reach a resolution without proceeding to trial. The parties subsequently appeared before the Court

on May 20, 2024, July 26, 2024, September 17, 2024, and December 9, 2024, to advise the Court

on the status of discovery and ongoing efforts to resolve the matter without a trial. On each date,

time was excluded under the Speedy Trial Act.

        7.     On January 2, 2025, the Government conveyed a formal Plea Agreement and

proposed Statement of Facts to the Defendant. The parties anticipate a resolution short of trial but

require additional time to continue negotiations.

        8.     On February 7, 2025, the Government filed an unopposed motion for an amended

protective order. ECF Nos. 74 and 74-1. On February 12, 2025, the Court entered the requested



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amended protective order. ECF No. 75. The Government provided supplemental discovery on

February 13, 2025. The parties request that the Court grant additional time for Defense Counsel

to review the supplemental discovery and discuss it with the Defendant, and for the parties to

continue plea negotiations. Accordingly, the parties request that the Court continue the March 7,

2025, status hearing to April 2 or April 3, 2025, or as soon thereafter as the Court is available.

        9.     Pursuant to 18 U.S.C. § 3161(h)(7)(A), the parties believe that the ends of justice

served by the tolling of the Speedy Trial clock until the next scheduled hearing in this matter

outweigh the interest of the public and the Defendant in a speedy trial. This additional time is

necessary for the parties’ continued negotiations toward a resolution short of trial. Failure to grant

such a continuance may result in a miscarriage of justice and would deny the parties reasonable

time necessary for effective preparation, taking into account the exercise of due diligence. See 18

U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv).




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Dated: February 26, 2025

                                          Respectfully submitted,

                                          MARLON COBAR, Chief
                                          Narcotic and Dangerous Drug Section
                                          Criminal Division
                                          U.S. Department of Justice


      /s/ Elita Amato                            /s/ Douglas Meisel
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of this Joint Motion for Continuance and Status Report has
been served by electronic mail on counsel for the Defendant on Wednesday, February 26, 2025.


                                                  /s/ Douglas Meisel
                                                  Douglas Meisel
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